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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     KELLY BLAND,

          Plaintiff,

     v.                                 No. 4:24-cv-00946-P
               UNITED STATES DISTRICT COURT
           FOR, ITHE
     EVERYDAYS        NORTHERN DISTRICT OF TEXAS
                 NC., ET AL.,
                      FORT WORTH DIVISION
        Defendants.
    REGINALEA KEMP,
       ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
       Plaintiff,
           RECOMMENDATION OF THE UNITED STATES
                    MAGISTRATE JUDGE
    v.                             No. 4:23-cv-00841-P
         The United States Magistrate Judge made Findings, Conclusions,
    Rand  a Recommendation in this case. ECF No. 16. No objections were
       EGIONS BANK ET AL.,
     filed, and the Magistrate Judge’s Recommendation is ripe for review.
       Defendants.
     The District Judge reviewed the proposed Findings, Conclusions, and
     Recommendation for plain error.ORDERFinding none, the undersigned District
     Judge believes
       Before       that isthe
              the Court        FindingsUnopposed
                             Plaintiff’s   and Conclusions
                                                     Motion offorthe  Magistrate
                                                                  Leave  to File
     Judge Amended
    Second  are correct,   and they
                     Complaint.   ECF are     accepted
                                         No. 18. Having as  the Findings
                                                         considered          and
                                                                     the Motion
     Conclusions
    and          ofdocket
        applicable  the Court.
                          entries, the Court GRANTS the Motion.
        TheORDERED
       SO   Court therefore ORDERS
                       on this  18th daythat
                                           of this case is TRANSFERRED
                                               September    2023.      to
     the United States District Court for the District of Delaware.

          SO ORDERED on this 24th day of January 2025.




                          ______________________________________________
                          Mark T. Pittman
                          UNITED STATES DISTRICT JUDGE
